



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				Sara Mae
      Robinson, Mary Ann Campbell, James Scott, Ellis Scott, William Scott, Shirley
      Pinckney Hughes, Julius Steven Brown, Leon Brown, Annabell Brown, Loretta
      Ladson, Kathleen Brown, Mozelle B. Rembert, Patricia Frickling, Ruth
      Mitchell, Gwendolyn Jameson, Remus Prioleau, Julius Prioleau, Anthony Prioleau,
      Judy Brown, Franklin Brown, Kathy Young, Kenneth Prioleau, Willis Jameson,
      Melvin Pinckney, William "Alonzie" Pinckney, Ruth Fussell, Hattie
      Wilson, Marie Watson, Gloria Becoat, Angela T. Burnett, and Lawrence Redmond, Appellants,
				v.
				The Estate of Eloise
      Pinckney Harris, Jerome C. Harris, as Personal Representative and sole heir
      and devisee of the Estate of Eloise P. Harris, Daniel Duggan, Mark F.
      Teseniar, Nan M. Teseniar, David Savage, Lisa M. Shogry-Savage, Debbie S.
      Dinovo, Martine A. Hutton, The Converse Company, LLC, Judy Pinckney
      Singleton, Mary Leavy, Michelle Davis, Leroy Brisbane, Frances Brisbane, and
      John Doe, Jane Doe, Richard Roe and Mary Roe, who are fictitious names
      representing all unknown persons and the heirs at law or devisees of the
      following deceased persons known as Simeon B. Pinckney, Isabella Pinckney,
      Alex Pinckney, Mary Pinckney, Samuel James Pinckney, Rebecca Riley Pinckney,
      James H. Pinckney, William Brown, Sara Pinckney, Julia H. Pinckney, Laura
      Riley Pinckney Heyward, Herbert Pinckney, Ellis Pinckney, Jannie Gathers,
      Robert Seabrook, Annie Haley Pinckney, Lillian Pinckney Seabrook, Simeon B.
      Pinckney, Jr., Matthew G. Pinckney, Mary Riley, John Riley, Richard Riley,
      Daniel McLeod, and all other persons unknown claiming any right, title,
      estate, interest, or lien upon the real estate tracts described in the
      Complaint herein, Defendants,
				of whom The
          Converse Company, LLC is Respondent.
			
		
	


Appeal From Charleston County
&nbsp;R. Markley Dennis, Jr., Circuit Court
  Judge
Unpublished Opinion No. 2008-UP-648
Submitted November 1, 2008  Filed
  November 24, 2008
AFFIRMED


	
		
			
				Walter&nbsp; Bilbro, Jr., of Charleston, for
  Appellants
				George J. Morris, of Charleston and John Judson Hearn, of Columbia, for Respondent.
				Charles M. Feeley, of Summerville, for
  Guardian Ad Litem
			
		
	

PER CURIAM: Appellants
  appeal the trial courts grant of summary judgment in favor of Respondent,
  denying the setting aside of a 1966 quiet title action.&nbsp; We affirm[1] pursuant to Rule 220(b), SCACR, and the following authorities:&nbsp; §15-67-90 S.C.
  Code Ann. (imposing a three year statute of limitations on an action to set
  aside a judgment quieting title for any reason); Yarbrough
    v. Collins, 301 S.C. 339, 341, 391 S.E.2d
  873, 875 (Ct. App. 1990) (denying the setting aside of a judgment quieting
  title because section 15-67-90 imposes a three year statute of limitations). 
AFFIRMED. 
ANDERSON, HUFF, and THOMAS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

